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                                 UNITED STATES BANKRUPTCY COURT
                                   SOUTHERN DISTRICT OF INDIANA
                                      INDIANAPOLIS DIVISION

 IN RE:                                                           )
                                                                  )
 ITT EDUCATIONAL SERVICES, INC., et al. 1                         )        Case No. 16-07207-JMC-7A
                                                                  )
          Debtors.                                                )        Jointly Administered

                     PROPOSED AGENDA OF MATTERS SCHEDULED
                 FOR OMNIBUS HEARING ON AUGUST 17, 2022 AT 1:30 P.M.

          Deborah J. Caruso, the chapter 7 trustee in this case (the “Trustee”), by counsel, pursuant

 to the Notice, Case Management and Administrative Procedures (the “Case Management

 Procedures”) approved by the Court on October 4, 2016 [Doc 220], submits this proposed

 agenda for the matters scheduled for the omnibus hearing on August 17, 2022 at 1:30 p.m.

 (prevailing Eastern time) (the “Hearing”). The Trustee anticipates the matters before the Court

 for the Hearing will take approximately thirty (30) minutes.

 I.       DIAL-IN INFORMATION

          The dial-in telephone number for interested parties to participate in the Hearing by

 conference call is 1-888-273-3658; passcode 6349352#. Interested parties planning on

 participating in the Hearing by conference call shall notify the Court before the Hearing by

 contacting Heather Butler (heather_butler@insb.uscourts.gov or 317-229-3833) or Suzette

 Bewley (suzette_bewley@insb.uscourts.gov or 317-229-3862).

 II.      MATTERS SCHEDULED TO BE HEARD AT HEARING

 Lead Bankruptcy Case (Case No. 16-07207)

          1.       Notice of Invoice for BGBC Partners, LLP’s Fees and Expenses for the Period of
                   June 1, 2022 through June 30, 2022 [Doc 4912], filed by BGBC Partners, LLP.


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  The debtors in these cases, along with the last four digits of their respective federal tax identification numbers are
 ITT Educational Services, Inc. [1311]; ESI Service Corp. [2117]; and Daniel Webster College, Inc. [5980].
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                  •   Status: No objections filed by the July 20, 2022 objection deadline.
                              As such, pursuant to the Court’s April 20, 2017 Order [Doc
                              1569], the Trustee has paid 80% of the requested fees and 100%
                              of the requested expenses. Not going forward at the Hearing.

       2.     Trustee’s Motion to Determine Certain State/City Tax Liabilities for 2010, 2011
              and 2012 Arising from Settlement of Federal Tax Obligations for Those Years
              [Doc 4922], filed by the Trustee.
                  •   Status: No objections filed by the August 10, 2022 objection deadline.
                              Going forward at the Hearing.

       3.     Continued hearing on Motion to Confirm Absence of Stay and for Reconsideration
              [Doc 356], filed by the Commonwealth of Massachusetts and the State of New
              Mexico.

                  •   Trustee’s Objection to Motion to Confirm Absence of Stay and for
                      Reconsideration [Doc 504], filed by the Trustee.

                  •   Response to Trustee’s Objection to Motion to Confirm Absence of Stay
                      and for Reconsideration [Doc 543], filed by the Commonwealth of
                      Massachusetts and the State of New Mexico.

                  •   Status: The Trustee will provide an update to the Court at the Hearing
                              regarding the proposed continuation of the stay on a consensual
                              basis to September 21, 2022. The Trustee will request on the
                              record that this matter be continued to the omnibus hearing on
                              September 21, 2022 at 1:30 p.m. If granted, not going forward at
                              the Hearing.

 Caruso v. Consumer Financial Protection Bureau, et al. (AP No. 16-50318)

       1.     Continued final hearing on the Trustee’s Motion to Stay, or in the Alternative, for
              Injunctive Relief Enjoining, Prosecution of Pending Litigation Against Debtors
              [Doc 3], filed by the Trustee.

                  •   Objection to Trustee’s Motion to Stay, or in the Alternative, for Injunctive
                      Relief Enjoining, Prosecution of Pending Litigation Against Debtors [Doc
                      19], filed by the Attorney General for the Commonwealth of
                      Massachusetts and the State of New Mexico.

                  •   Consumer Financial Protection Bureau’s Objection to Trustee’s Motion to
                      Stay, on in the Alternative, for Injunctive Relief Enjoining, Prosecution of
                      Pending Litigation Against Debtors [Doc 21], filed by the Consumer
                      Financial Protection Bureau.




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                    •   Opposition of Securities and Exchange Commission to Trustee’s Motion to
                        Stay, or in the Alternative, for Injunctive Relief Enjoining, Prosecution of
                        Pending Litigation Against Debtors [Doc 22], filed by the United States
                        Securities and Exchange Commission.

                    •   Trustee’s Reply in Support of Trustee’s Motion to Stay, or in the
                        Alternative, for Injunctive Relief Enjoining, Prosecution of Pending
                        Litigation Against Debtors [Doc 23], filed by the Trustee.

                    •   Consumer Financial Protection Bureau’s Supplemental Objection to
                        Trustee’s Motion to Stay [Doc 76], filed by the Consumer Financial
                        Protection Bureau.

                    •   Supplemental Objection to Trustee’s Motion to Stay, or in the Alternative,
                        for Injunctive Relief Enjoining, Prosecution of Pending Litigation Against
                        Debtors [Doc 84], filed by the Attorney General for the Commonwealth of
                        Massachusetts.

                    •   Trustee’s Supplement to Reply in Support of Trustee’s Motion to Stay, or
                        in the Alternative, for Injunctive Relief Enjoining, Prosecution of Pending
                        Litigation Against Debtors [Doc 87] filed by the Trustee.

                    •   Agreed Entry Resolving Trustee’s Motion to Stay, or in the Alternative, for
                        Injunctive Relief Enjoining, Prosecution of Pending Litigation Against
                        Debtors with Respect to Consumer Financial Protection Bureau [Doc 98],
                        filed by the Trustee and the Consumer Financial Protection Bureau.

                    •   Status: The Trustee will provide an update to the Court at the Hearing
                                regarding the proposed continuation of the stay on a consensual
                                basis to September 21, 2022. The Trustee will request on the
                                record that this matter be continued to the omnibus hearing on
                                September 21, 2022 at 1:30 p.m. If granted, not going forward at
                                the Hearing.

 III.   NOTICE

        Pursuant to the Case Management Procedures, the Trustee will serve this proposed

 hearing agenda on the Core Group (as defined in the Case Management Procedures) and each

 entity who has filed and served a court filing set to be heard at the Hearing.




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                                            Respectfully submitted,

                                            RUBIN & LEVIN, P.C.

                                        By: /s/ Meredith R. Theisen
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                                CERTIFICATE OF SERVICE

         I hereby certify that on August 16, 2022, a copy of the foregoing Proposed Agenda of
 Matters Scheduled for Omnibus Hearing on August 17, 2022 at 1:30 p.m. was filed
 electronically. Pursuant to Section IV.C.3(a) of the Case Management Procedures, notice of this
 filing will be sent to the following parties through the Court’s Electronic Case Filing System.
 Parties may access this filing through the Court’s system.

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        I further certify that on August 16, 2022, pursuant to Section IV.C.3(c) of the Case
  Management Procedures, a copy of the foregoing Proposed Agenda of Matters Scheduled for
  Omnibus Hearing on August 17, 2022 at 1:30 p.m. was emailed to the following:

  CEC Red Run, LLC: Alan M. Grochal at agrochal@tydingslaw.com
  SWRE Deal V Building, LLC: Paul Weiser at pweiser@buchalter.com
  Tarrant County/Dallas County: Elizabeth Weller at dallas.bankruptcy@publicans.com
  Northwest Natural Gas Company: Ashlee Minty at Ashlee.Minty@nwnatural.com
  Solar Drive Business, LLC: Chris W. Halling at challing@hallingmeza.com
  Market-Turk Company: Jordan A. Lavinsky at jlavinsky@hansonbridgett.com
  Taxing Authority for Harris County, Texas: John P. Dillman at houston_bankruptcy@lgbs.com
  Texas Comptroller of Public Accounts: Rachel Obaldo at rachel.obaldo@oag.texas.gov
  Clear Creek Independent School District: Carl O. Sandin at csandin@pbfcm.com
  Synchrony Bank: Recovery Management Systems Corporation at claims@recoverycorp.com
  Bexar County: Don Stecker at sanantonio.bankruptcy@publicans.com
  SWRE Deal V Building, LLC: Nancy K. Swift at nswift@buchalter.com
  TN Dept. of Revenue: Michael Willey at michael.willey@ag.tn.gov
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  Last Second Media, Inc.: T. Todd Egland at tegland@beldenblaine.com
  Hung Duong: Kevin Schwin at kevin@schwinlaw.com
  Travis County: Kay D. Brock at kay.brock@traviscountytx.gov
  Able Building Maintenance: Scott D. Fink at bronationalecf@weltman.com
  Marathon Ventures, LLC: Daniel M. Karger at kargerlaw@gmail.com
  Oklahoma County Treasurer: Tammy Jones at tammy.jones@oklahomacounty.org
  JM Partners LLC: John Marshall at jmarshall@jmpartnersllc.com

                                                                       /s/ Meredith R. Theisen
                                                                       Meredith R. Theisen
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